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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA

                        CASE NO. 4:21-cv-00480-MW-MAF

KAREN LUCKADO,

       Plaintiff,

v.

EL SHADDAI MOTEL GROUP, LLC, a Florida
limited liability company; HERON HOUSE
APARTMENTS OF STEINHATCHEE, LLC, a
Florida limited liability company; PRETORIUS
FAMILY, LLC, a Florida limited liability
Company; SUSANNA CREAMER a/k/a SUSAN
PRICE, an individual; FLOYD E. CREAMER,
an individual, and MARCELO CUNHA, an
individual,

     Defendants.
______________________________________/

      PLAINTIFF’S SECOND MOTION TO COMPEL DISCOVERY1

       The Plaintiff, by and through undersigned counsel and pursuant to Rules

26, 33, 34 and 37 Fed.R.Civ.P., files this Motion to Compel Discovery, and

states as follows:




1
 The Plaintiff previously filed Motions to Compel discovery (ECF #’s 14, 15 and 16). Only
after those Motions were filed, did the Defendants serve amended discovery responses. In
the Defendants’ Response in Opposition (ECF 18) Defendants argued their supplemental
responses resolved many of the discovery issues raised. The Plaintiff disagrees. The Court’s
discovery Order (ECF 20) stated that Plaintiff could file a second motion to compel to address
outstanding deficiencies. See Order (ECF 20) at pp. 4, 6, 11, 13 and 18.
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I.    BACKGROUND

      The Plaintiff’s case arises under the Fair Labor Standards Act (“FLSA”),

29 U.S.C. §201 et seq. for unpaid minimum and overtime wages. See Complaint

(ECF No. 1). The Plaintiff has also brought a claim for minimum wages under

the Florida Constitution’s Minimum Wage Amendment (“FMWA”), Art. X

§24 Fla. Const. Id.

      From about 2017 to about October 15, 2021, the Plaintiff was employed

by the Defendants at their various inns/rental properties. Complaint at ¶12.

Despite usually working seven days per week, the Defendants paid the Plaintiff

$100.00 per week. Id. at ¶¶24-25. The Defendants permitted the Plaintiff to live

on their premises free of charge.

      On January 19, 2022, the Plaintiff served Defendants with Interrogatories

and Requests for Production, as set forth, infra. The Defendants served their

responses, thereto, on February 25, 2022.

      Because the responses were deficient and the Defendants would not

amend, on March 29, 2022 the Plaintiff filed Motions to Compel (ECF 14, 15

and 16 ). Only after those Motions were filed did the Defendant serve amended

(but still deficient) discovery responses.    The Defendants attached those

amended discovery responses to their Response in Opposition as ECF #’s 18-1
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through 18-9. As those amended responses are still deficient, the Plaintiff has

filed this Second Motion to Compel.

      As the Court may recall from Plaintiff’s original Motions to Compel (ECF

#’s 14, 15 and 16), many of her Interrogatories and Requests for Production

were nearly identical—so, too, were many of the Defendants’ responses. Thus,

for the Court’s convenience, the Plaintiff will group similar issues, together. The

discovery at issue, discussed infra, is attached as follows:

1. Interrogatories to Marcelo Cunha (attached as Exhibit 1);

2. Amended Answers to Interrogatories by Marcelo Cunha (attached as

    Exhibit 2);

3. Interrogatories to Susan Creamer (attached as Exhibit 3);

4. Amended Answers to Interrogatories by Susan Creamer (attached as

    Exhibit 4);

5. Interrogatories to El Shaddei Motel Group, LLC (“El Shaddei”)(attached as

    Exhibit 5);

6. El Shaddei Amended Answers to Interrogatories (attached as Exhibit 6);

7. Interrogatories to Pretorius Family, LLC (“Pretorius”)(attached as Exhibit

    7);


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8. Amended Answers to Interrogatories by Pretorius (attached as Exhibit 8);

9. Request for Production (“RFP”) to Heron House (attached as Exhibit 9);

10. Heron House Response to RFP (attached as Exhibit 10).

11. Interrogatories to Heron House Apartments of Steinhatchee, Inc. (“Heron

      House”) (attached as Exhibit 11);

12. Heron House Amended Interrogatory Answers (attached as Exhibit 12);



I.      MEMORANDUM OF LAW

        Rule 37 Fed.R.Civ.P. provides that if a party fails to respond to discovery

requests, the discovering party may move for an order compelling an answer or

response. A movant may seek the expenses associated with filing the motion to

compel pursuant to Rule 37(a)(5).


II.     INTERROGATORIES TO MARCELO CUNHA

 Interrogatory No. 2:

 Please state whether Plaintiff performed any work or services for any
 company or business entity which you owned, managed, operated,
 oversaw, were a shareholder, member, or had an equitable, legal or
 financial interest. If so, identify each such entity, the Plaintiffs dates of
 work, her work hours, and the amounts she was paid.

        Cunha Amended Answer:
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            My understanding is that Plaintiff worked at Heron House. I have
            no knowledge of worked performed or payments made to
            Plaintiff for El Shaddai Motel Group. I have never seen her here
            or communicated with her about work here. I have never seen or
            heard Susan Creamer giving her orders or paying her for working
            here. I have never seen her doing any work here. I have no
            knowledge about her work or pay for the Heron House.

      Argument: Marcelo Cunha’s amended response is vague and ambiguous

insofar as his “understanding” about the identified matters. Use of the phrase

“my understanding” is particularly ambiguous considering Cunha’s vaguely

worded “sworn” Verification which states:

      I, Marcelo Cunha, declare under the penalty of perjury that I have
      read the foregoing Defendant Marcelo Cunha's Amended
      Responses and Objections to Plaintiffs First Set Of Interrogatories
      and they are true and correct to the best of my knowledge,
      information, and belief.

See Cunha Amended Interrogatory Response at 6. Cunha’s use of the words “to

the best of my knowledge, information and belief” compounded with his answer

about his “understanding” of things, creates uncertainty about whether he is

binding himself to anything.

      Interrogatory # 2 to Cunha is a “yes” or “no” question. Cunha’s answer

is ambiguous because it fails to state whether the Plaintiff performed work for

other Defendants besides Heron House. Moreover, to the extent that Marcelo

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Cunha has identified “Heron House” as a place where the Plaintiff worked, he

fails to state her “dates of work, her work hours, and the amounts she was

paid,” the extent he has knowledge.

     Cunha’s answer to the interrogatory goes off on multiple tangents that do

not answer the question. The answer is vague on what he means by the word

“here,” when he says, “I have never seen her here or communicated with her

about work here.” He should be compelled to answer the question being asked.


 Interrogatory No. 4 to Cunha:

From 2017 to the present, please state whether Plaintiff was given cash,
directly or indirectly, from you or any other of the Defendants. Is so, please
identify whom; the date of each and every cash payment, the amount of every
cash payment, the number of hours of work each cash payment was designed
to cover, the business or financial institution from which each and every cash
payment was obtained so payment could be made, the persons involved in
delivering or in any way processing or handling each cash payment, whether
the wages paid to Plaintiff were either identified or made part of your tax
filings, and identify the creation date of each document reflecting cash
payments made. Please identify all documents relied upon in responding.

     Cunha Amended Answer:

     I made no payments to Plaintiff, ever. I have no knowledge of any
     payments and I have no knowledge of documents or tax filings or
     communications about any payments.




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          Argument: The response is vague and ambiguous as phrased. It’s

    a “yes’ or “no” question. While Cunha makes clear that he personally,

    made “no payments” to the Plaintiff, his answer about whether Susan

    Creamer (his wife) or the other Defendants ever paid cash to the Plaintiff,

    is ambiguous at best. Tellingly, Cunha never succinctly states he lacks

    knowledge whether the other Defendants, including his spouse, paid the

    Plaintiff in cash.

          Indeed, the question is concerned with payments in cash, only.

    Thus, Cunha saying “I have no knowledge of any payments” is

    ambiguous. If he is truly lacks knowledge whether Plaintiff received cash

    from any of the numerous Defendants, Cunha should just come out and

    say that. However, if Cunha answers Interrogatory # 4 in the affirmative,

    he should be compelled to answer the subparts that follow.         Lastly,

    Cunha’s answer that he has “no knowledge of documents or tax filings or

    communications about any payments,” does not answer the question, but

    rather, goes off on a tangent. Cunha should be compelled to respond.

III. INTERROGATORIES TO SUSAN CREAMER

          Interrogatory No. 4 to Susan Creamer:

From 2017 to the present, please state whether Plaintiff was given cash,
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 directly or indirectly, from you or any other of the Defendants. Is so, please
 identify whom; the date of each and every cash payment, the amount of every
 cash payment, the number of hours of work each cash payment was designed
 to cover, the business or financial institution from which each and every cash
 payment was obtained so payment could be made, the persons involved in
 delivering or in any way processing or handling each cash payment, whether
 the wages paid to Plaintiff were either identified or made part of your tax
 filings, and identify the creation date of each document reflecting cash
 payments made. Please identify all documents relied upon in responding.


      Amended Response to Interrogatory # 4 by Susan Creamer:

      Defendant objects to this request on the grounds that it seeks irrelevant
      information and is not proportional to the needs of the case. See
      Defendant’s response to Interrogatory No. 2. Payments were made via
      cash or CashApp.

      Argument: Susan Creamer’s objection is untimely. She did not raise this

objection in her original response (ECF 14-2), and therefore the objection should

be overruled. The objection should also be overruled as boilerplate. Next, the

objection is meritless—nothing could be more proportional in an FLSA case

than a question asking if a plaintiff was paid cash, and if so, how much. Indeed,

Susan Creamer’s answer acknowledges that the Plaintiff was paid in cash. Thus,

she must be compelled to answer the question’s subparts.




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         Although Susan Creamer attempts to reincorporate her prior answer to

Interrogatory # 2, that is completely unhelpful.2 To be sure, her response to

Interrogatory # 2 does not answer the subparts found in Interrogatory # 4,

especially “the amount of every cash payment, the number of hours of work each

cash payment was designed to cover, the business or financial institution from

which each and every cash payment was obtained so payment could be made,

the persons involved in delivering or in any way processing or handling each

cash payment, whether the wages paid to Plaintiff were either identified or made

part of your tax filings, and identify the creation date of each document reflecting


2
    Interrogatory # 2 to Susan Creamer asked:

         Please state whether Plaintiff performed any work or services for any company or business
         entity which you owned, managed, operated, oversaw, were a shareholder, member, or had
         an equitable, legal or financial interest. If so, identify each such entity, the Plaintiff’s dates
         of work, her work hours, and the amounts she was paid.

         Creamer’s Amended Answer to Interrogatory # 2 (see Exhibit 3) stated:

                 Plaintiff worked at Heron House Apartments of Steinhatchee, LLC. Her main duties
                 were to clean apartments after guests vacated. She also would sweep up and take
                 out trash and perform limited yard maintenance. Plaintiff did not have set hours,
                 except that she was only able to clean apartments between 11:00 a.m. and 3:00 p.m.
                 She was not required to be on the property during particular hours except when she
                 had rooms to clean. She worked, at most, 25 hours per week. She was paid the
                 equivalent of at least $350/week in furnished housing that included free WiFi,
                 cable, utilities, a kitchen, living room, bedroom, and two full bathrooms, $100 per
                 week in cash, plus $25 for each time she cleaned the River House. On a handful of
                 occasions I asked her to perform a task at another property; on such occasions I
                 paid her separately for those tasks.

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cash payments made.” Moreover, she fails to “identify all documents relied

upon in responding,” as specifically requested in Interrogatory # 4. She should

be compelled to fully and completely answer Interrogatory # 2 without objections.

IV.    INTERROGATORY            #   2   TO    BOTH     EL    SHADDEI       AND
       PRETORIUS

For the period of February 1, 2018 to October 2021, provide the identity of
each person (employees, workers or anyone you deem as independent
contractors) who worked on the premises, offices or property of [ESMG or
Pretorius]. As for each calendar day in that period, identify the specific
person working on each shift, the hours comprising each shift, the hours
worked that day, the duties performed by each worker on each calendar day,
and the total hours worked in the week by each worker.

       El Shaddei’s Amended Response to Interrogatory # 2:

       Defendant objects to this request as Plaintiff never worked for
       Defendant; therefore, any information provided to this request is
       irrelevant and not proportional to the needs of the case. Defendant
       further objects to this request on the grounds that it is overly broad and
       unduly burdensome. Notwithstanding the foregoing objections and
       without waiving them, the following individuals worked on the
       premises of the El Dorado Motel between February 1, 2018 and October
       2021: Dawn Daigle, Debra Liles, David Blunt, Nicole Belcher, Kirby
       Davis, Windy Davis, Marjorie Calvert.

       Argument: The Amended response by El Shaddei does not answer the

question being asked. The question does not necessarily relate to the Plaintiff,

but instead, the other workers who purportedly worked at the subject motel.

Because motels do not run themselves, if the Defendants wants to dispute that
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Plaintiff was working substantial hours, then someone else must have been

working those shifts.   The objection should be overruled as boilerplate and a

waste of time. It is completely reasonable for the Plaintiff to use the tools of

discovery to obtain witness information, especially about the people she actually

worked with. Moreover, the number of individuals is small, making the “unduly

burdensome” objection, meritless. Although the Defendant identifies workers,

it fails to answer the subparts which asked “[a]s for each calendar day in that

period, identify the specific person working on each shift, the hours comprising

each shift, the hours worked that day, the duties performed by each worker on

each calendar day, and the total hours worked in the week by each worker.”

      Pretorius’ Amended Answer to Interrogatory # 2:

      Defendant objects to this request as Plaintiff never worked for
      Defendant; therefore, any information provided to this request is
      irrelevant and not proportional to the needs of the case. Defendant
      further objects to this request on the grounds that it is overly broad and
      unduly burdensome. Notwithstanding the foregoing objections and
      without waiving them, the following individuals worked on the
      premises of the Suwanee River Motel between February 1, 2018 and
      October 2021: Charlotte Sparks, Joey Henderson, Susan Creamer,
      Joseph Bokulich, Nicole Belcher, Kirby Davis.

      Argument: Because Pretorius’ answer is virtually identical to that of El

Shaddei, the Plaintiff reincorporates the same arguments, supra.       Pretorius

should be compelled to respond for the same reasons.
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V.    REQUEST FOR PRODUCTION (“RFP”) TO HERON HOUSE


      In its Discovery Order (ECF 20), the Court noted that in response to

Plaintiff’s original Motions to Compel (ECF 16), Heron House claimed that

“[r]esponsive documents have been produced, and none are being withheld”

with respect to RFP #’s 1, 11, 17, 18, 19, 21, 25–30, and 42. See Order (ECF 20)

at pp. 4, 6, 11, 13 and 18.

      As an initial matter, neither Heron House, nor the other Defendants have

turned over any time or payroll records reflecting the Plaintiff’s work for her 3+

years of employment. Of course, the Defendants cannot produce what they do

not have. Nevertheless, Heron House’s RFP responses, as drafted, say the

opposite of what it told the Court. RFP #’s 1, 11, 17, 18, 19, 21, 25–30, and 42

to Heron House are still at issue and are addressed as follows:

    1.      All journals, transcripts, diaries, transaction reports, pay stubs,
pay checks, wage papers, punch-clock records, documents, papers, job
applications, invoices, emails, memoranda, notes, phone message slips, or
any other written or electronically storedmaterial referencing the Plaintiff,
her work schedules, work hours, wages, cash payments to him, salary, rate
and method of pay, hours worked, services performed, arrival/departure
from work, breaks taken, or any matters concerning her.

     RESPONSE: Most of the requested documents do not exist.
     Defendant will produce all responsive documents within its
     possession, custody, or control.
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            Argument:

      Even though, the Court noted in its Discovery Order (DE 20) that Heron

House was now claiming “[r]esponsive documents have been produced, and

none are being withheld,” see Order (ECF 20) at 16, that is not what is reflected

in Heron House’s actual discovery responses to RFP #1, supra.

      As phrased, the Plaintiff has no idea what “most” even means in Heron

House’s Response to RFP #1.       Moreover, the “Response” seems to indicate

documents “will be produced,” yet the Plaintiff does not know if the sparse

records produced by the Defendants (a mere 43 pages for Plaintiff’s 3+ years of

employment—with no time or weekly payroll records) is all there is.

      The Defendant should be compelled to clearly state what records it does

have that are responsive to RFP # 1, and separately, the documents it claims not

to have. Otherwise, Heron House is speaking out of both sides of its proverbial

mouth and is bound by nothing—leaving the door open for it produce

documents in the future at its leisure. It is unacceptable for the Defendant to

say it “will produce” documents, when the deadline for doing so, past. See

Fed.R.Civ.P. 34. Considering this is an FLSA case where the Defendants have

an obligation to keep time/pay records in compliance with 29 U.S.C. §211, the

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Plaintiff should not have to guess whether Defendants complied with FLSA’s

recordkeeping requirements—after receiving discovery responses on that issue.


 11. Any document related to your Initial Disclosures, as well as any
    document on which you will rely insofar as your defenses to this
    litigation.

     RESPONSE: Defendant has not yet submitted its Initial Disclosures,
     and has not yet determined which documents it will rely upon in
     defense of this litigation.

                  Argument:      This Response does not jibe with Heron

           House’s claim that “[r]esponsive documents have been produced,

           and none are being withheld,” see Order (ECF 20) at 16.       As the

           time to provide documents pursuant to Rule 26 has already past,

           Heron House should be compelled to amend its response.

           Otherwise, Heron House is bound by nothing, and allows it to

           leave the door open for it to produce documents in the future, at its

           leisure.


   17. Any and all documents identified in Defendant's Answers to
Interrogatories or which were referred to in responding thereto.

  RESPONSE: See documents Defendant will produce in response to
  request no. 1.

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      Argument: The Plaintiff reincorporates her argument from RFP #1.


   18.The complete personnel file of Plaintiff, or any documents which are
in yourpossession, custody or control which reference the Plaintiff.

  RESPONSE: See documents Defendant will produce in response to
  request no.1.

     Argument: The Plaintiff reincorporates her argument from RFP #1.

   19.Any and all timecards, sign-in sheets or other documents which reflect
the hoursand shifts worked by Plaintiff.

  RESPONSE: See documents Defendant will produce in response to
  request no. 1.

     Argument: The Plaintiff reincorporates her argument from RFP #1.


   21.Any and all timecards, sign-in sheets and other documents which
reflect any preshift work or time, post-shift work or time, or overtime hours,
or worked by Plaintiff from home or away from her usual location of work,
in each workweek.

  RESPONSE: See documents Defendant will produce in response to
  request no. 1.

      Argument: The Plaintiff reincorporates her argument from RFP #1.


  25.All documents you contend support any argument that Plaintiff or
Defendantsare exempt from the FLSA.

  RESPONSE: Defendant will produce the requested documents.

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            Argument: As the deadline to respond has past, the Plaintiff

      reincorporates her argument from RFP #1.



   26.Any and all documents which Defendant claims will substantiate or
otherwise support any asserted exemption from overtime or minimum wages
being due.

      RESPONSE: Defendant will produce the requested documents.

            Argument: As the deadline to respond has already past, the

      Plaintiff reincorporates her argument from RFP #1.


   27.Any documents used to calculate the reasonable cost of any food,
facilities orother fringe benefits provided to Plaintiff.

  RESPONSE: Defendant will produce the requested documents.

            Argument: As the deadline to respond has past, the Plaintiff

      reincorporates her argument from RFP #1.


   28.Any documents used to calculate the fair value of any food, facilities
or other fringe benefits provided to Plaintiff.

  RESPONSE: Defendant will produce the requested documents.

            Argument: As the deadline to respond has past, the Plaintiff

      reincorporates her argument from RFP #1.

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   29.Any documents referencing or relating to your company determining
the reasonable cost of food, lodging or other benefits provided to the
Plaintiff.

  RESPONSE: Defendant will produce the requested documents.

             Argument: As the deadline to respond has past, the Plaintiff

       reincorporates her argument from RFP #1.


   30.Any documents referencing or relating to your company determining
the fairvalue cost of food, lodging or other benefits provided to the Plaintiff.

  RESPONSE: Defendant will produce the requested documents.

             Argument: As the deadline to respond has past, the Plaintiff

       reincorporates her argument from RFP #1.


   42. Copies of any documents which would support any Affirmative
Defense made, or to be made, by any of the Defendants, or the reasons
related to the cessation of the Plaintiff’s work with your company.

  RESPONSE: Defendant will produce the requested documents.

             Argument: As the deadline to respond has past, the Plaintiff

       reincorporates her argument from RFP #1.

IV.    INTERROGATORY # 2 TO HERON HOUSE

For the period of February 1, 2018 to October 2021, provide the identity of
each person (employees, workers or anyone you deem as independent
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contractors) who worked on the premises, offices or property of HHAS. As
for each calendar day in that period, identify the specific person working on
each shift, the hours comprising each shift, the hours worked that day, the
duties performed by each worker on each calendar day, and the total hours
worked in the week by each worker.

     AMENDED RESPONSE BY HERON HOUSE:

     Defendant objects to this request on the grounds that it is overly broad
     and unduly burdensome. Additionally, Defendant does not have all the
     information requested. Notwithstanding the foregoing objections and
     without waiving them, the following individuals regularly worked on
     the premises of Heron House Apartments and River House during some
     portion of time between February 1, 2018 and October 2021: Susanna
     Creamer, Plaintiff, Roxanne Carman, Maria Santosh, Marcela Russell,
     Shelly Stroupe, Nicole Belcher, Kirby Davis, Windy Davis.

           Argument:

           As an initial matter, the objection is meritless and should be

     overruled. Motels do not run themselves; if the Defendant wants to claim

     that the Plaintiff was not working the substantial hours she claims, then

     someone else must have been working those shifts.          It is completely

     reasonable for the Plaintiff to use the tools of discovery to obtain witness

     information, especially about the people she actually worked with.

     Moreover, the number of individuals is small, making the “unduly

     burdensome” objection, meritless. Also, Heron House’s statement that it

     “does not have all the information requested,” is ambiguous---it is not

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      clear what this even means.

            Although Heron House identifies workers, it fails to answer the

      subparts which asked “[a]s for each calendar day in that period, identify

      the specific person working on each shift, the hours comprising each shift,

      the hours worked that day, the duties performed by each worker on each

      calendar day, and the total hours worked in the week by each worker.”

      Heron House’s amended response is not much of an improvement from

      its original, vague, response. Compare ECF 16-3. It should be compelled

      to supplement. If Heron House does not know the answer to a subpart, it

      should just come out and say that, rather than beating around the bush.

      VI.   ATTORNEY’S FEES

      The Plaintiff is seeking fees under Rule 37 Fed.R.Civ.P. The Plaintiff

served reasonable discovery on the Defendants—nothing unusual in an FLSA

case—however, the Defendants have provided vague answers/responses, and

have utterly failed to answer numerous subparts. The Defendants’ objections are

meritless on their face. The Plaintiff spent 2.4 hours drafting the Motion and

seeks $1,040.00 in attorneys’ fees (2.6 hours x $400 lodestar rate = $1,040).

      WHEREFORE, the Plaintiff seeks an Order (a) compelling Defendant

Marcelo Cunha to supplement and provide full and complete responses
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(without objections) to Interrogatory #’s 2 and 4, (b) compelling Susan

Creamer to supplement and provide full and complete responses (without

objections) to Interrogatory # 1 (c) compelling El Shaddei, Pretorius and

Heron House, respectively, to supplement and provide full and complete

responses (without objections) to Interrogatory # 2, (d), compelling Defendant

Heron House to supplement responses to RFP #’s 1, 11, 17, 18, 19, 21, 25–30,

and 42 to clearly state the records it actually has, and those it does not, (e) award

Plaintiff $1,040.00 in attorneys' fees and costs and requiring the Defendants to

pay Plaintiff’s counsel, promptly, (c) and grant all other relief deemed

appropriate.

                                       Respectfully submitted,

                                       BOBER & BOBER, P.A.
                                       Attorney for Plaintiff
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                                       By: s/. Peter Bober, Esq.
                                       FBN: 0122955




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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served

via email on April 29, 2022 on all counsel or parties of record on the attached

service list.

                                             /s/. Peter J. Bober



                CERTIFICATE OF GOOD FAITH CONFERRAL

       As set forth in the Plaintiff’s original Motions to Compel (ECF #’s 14, 15,

and 16) the Plaintiff contacted the defense counsel by telephone and email

regarding the deficiencies, herein. In addition, the Plaintiff sent the Defendant

a detailed list of the discovery deficiencies so there would be no ambiguity.

Despite attempting to work with the Defendant to resolve the dispute, the

Plaintiff was unable to do so.      The Defendants’ discovery responses lack

substance and fail to answer numerous subparts, and the same discovery

deficiencies identified in ECF #’s 14, 15 and 16, still remain.

                                             /s/. Peter J. Bober

                             SERVICE LIST

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